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                                                                 2015 Oct-13 PM 04:15
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA
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                                         Davenport, Lavette & Cleckler, PC
                                           ATTORNEYS                              AT     LAW

                                                                P.O.   Box   360186
W. KIRK DAVENPORT                                         BIRMINGHAM, AL        35236   \D) \o
PATRICKM. LAVEJTE
D. CRAIG   CLECKLER




                                                            March 14, 2013



                 Via Email and U.S. Mail
                 Kori L. Clement, Esq.
                 Hare, Clement & Duck, P .C.
                 1010 Financial Center
                 505 North 201h Street
                 Bim1ingham, AL 35203

                         Re:    Robertson v. 191h Street Investments, Inc. and Sabbah Brothers
                                Enterprises, Inc.
                                In The Circuit Court of Jefferson County, Bessemer Division
                                cv- 2007-633
                 Dear Kori:

                         I am writing on behalf of the Plaintiffs in the consolidated actions. As you are
                 aware, the jury returned verdicts totaling over $15 million against The Nineteenth Street
                 Investments, Inc., in the initial phase of the trial of these cases. In our previous demand
                 of March 3, 20 II, we had offered to settle these claims for tender of the liquor libility
                 limits ofNationwide Policy #77PR762940.

                         The Court has now scheduled the second phase of this trial in order to determine
                 whether the verdict will be assessed against the other two named defendants in this action
                 -- Sabbah Brothers Enterprises, Inc., and Ibrahim Sabbah. Both are insureds under the
                 above policy, and both have substantial risk of the judgment being assessed against them.
                 You are familiar with the arguments we have set forth. We are confident that we will
                 prevail, and that a verdict substantially in excess of the $1 million coverage available
                 under the above policy will attach to the remaining defendants.

                         In order to avoid liability being assessed against Mr. Sabbah and Sabbah Brothers
                 Enterprises, all plaintiffs will again agree to settle all claims against these defendants and
                 against Nineteenth for payment of the $I million limits of the above policy.

                         This offer will remain open for 28 days, and thereafter will be withdrawn. After
                 that time, plaintiffs will proceed to the second phase of trial and will make every effort to
                 collect the judgment from any and all available personal or corporate assets.

                         Please advise Mr. Sabbah of this offer.
                                 PHYsiCAL ADDRESS:   3829 LoRNA  RoAD, SutTE 302, BIRMINGHAM, AL 35244

                                                     WEBSITE:   www.dlclawyers.com




                                                                                                         H&C 10891
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      With best regards, I remain,

                            Very tmly yours,

                            DAVENPORT, LAVETTE & CLECKLER, P.C.




                            Patrick M. Lavette

PML/chc
cc:
      Ashley Peinhardt, Esq.
     Don McKenna, Esq.
     Edward D. Tumlin, Esq.
     Ralph Bohanan, Esq.
     Andrew LaPlante, Esq.




                                                                  H&C 10892
